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                 1      2 PAGES
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                 7
                 8                             UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF CALIFORNIA
                 9                                   SACRAMENTO DIVISION
             10                                                          Case No. 19-21469-D-7
                     In Re                                           )            DCN: RJ-001
             11                                                      )
                     Santo R. Avalos                                 )
             12                                                      )      Ex Parte Application for
                                                                     )   Extension of Time to Fulfill
             13                            Debtor,                   )     Deficient Initial Filing
             14
             15              IT IS HEREBY REQUESTED that a 14 day extension of time for
             16      the filing of the :
             17               !1 Statement of Monthly Income
                     Form 122C!
                     Schedule A/B ! Real and Personal Property
             18      Schedule C ! Exempt Property
                     Schedule D ! Secured Creditors
             19      Schedule E/F ! Unsecured Claims
                     Schedule G ! Executory Contracts
             20      Schedule H ! Codebtors
                     Schedule I ! Current Income
             21      Schedule J ! Current Expend.
                     Statement of Financial Affairs
             22      Summary of Assets and Liabilities
             23                including all still deficient documents referred to in the
             24      Notice of Incomplete Filing and Notice of Intent to dismiss
             25      previously issued in this case, be granted to April 8th, 2019.
             26      Today, March 25, 2019, would otherwise be the deadline.                     The case
             27      was filed on an emergency basis, to address restoration of
             28      terminated Electric Service.                However, not withstanding some


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                 1   significant efforts, not many additional documents can be
                 2   completed on today’s deadline as more information and work on
                 3   this case is required.
                 4        Creditors will not be prejudiced since the 341 first meeting
                 5   is not until April 25th, 2019 .
                 6        Wherefore, the debtor prays that the court allow more time
                 7   for the balance of the deficiencies to be filed,   and approve
                 8   this application.
                 9                       Respectfully submitted.
             10                          /s/ Richard Jare
                     March 25, 2019      ________________________________
             11                          Richard Jare, (SBN 109331)
                                         Attorney for Debtors
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